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            EXHIBIT 2
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 6   Attorneys for Plaintiff
 7
                         UNITED STATES DISTRICT COURT
 8
                      NORTHERN DISTRICT OF CALIFORNIA
 9

10   Dustin Neff, an individual,                   Case No.: 3:23-cv-02518-JD
11
     Plaintiff,                                    PLAINTIFF’S FIRST AMENDED
12                                                      COMPLAINT FOR:

13   v.                                            1. COPYRIGHT INFRINGEMENT
14   SBA Entertainment, LLC, a Colorado            2. VICARIOUS AND/OR
15   limited liability company; Goode                 CONTRIBUTORY COPYRIGHT
     Enterprises Solutions Inc., a Colorado           INFRINGEMENT; AND
16   corporation; and Does 1-10, inclusive,                                     Formatted: Font: Times New Roman, 14 pt

17   CHICKEN SOUP FOR THE SOUL                     2.3.     VIOLATIONS OF 17    Formatted: No bullets or numbering
     ENTERTAINMENT, INC., a Delaware                  U.S.C. §1202
18   corporation; TOFG LLC d/b/a 1091, a
19   Delaware limited liability company; and
     Does 1-10, inclusive,                              Jury Trial Demanded
20

21
     Defendants.
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 4          Plaintiff Dustin Neff (“Neff”) by and through his undersigned attorneys,
 5   hereby prays to this honorable Court for relief based on the following:
 6                                       INTRODUCTION
 7          1.     Neff is an acclaimed independent author, researcher, and filmmaker
 8   who has published multiple original works on California’s Mount Shasta and its
 9   forgotten history and legends, and has appeared numerous times on the History
10   Channel, Travel Channel, and Discovery Channel to present his work to the public.
11          2.     Neff brings this claim to seek redress for the unauthorized and
12   unlawful publishing and exploitation of his original photography. Defendants SBA
13   Entertainment, LLC (“SBA”) and Goode Enterprise Solutions Inc. (“Goode”)
14   Chicken Soup For The Soul Entertainment, Inc. (“Chicken Soup”), and TOFG, LLC
15   (“TOFG”) unlawfully reproduced, published, and prominently displayed and
16   distributed Neff’s original photography in their 2019 film The Cosmic Secret, as
17   well as online through a promotional video posted on the short-form video hosting
18   service TikTok. Neff at no time sought to associate his work with Defendants or
19   any of their affiliates.
20          3.      This unauthorized usage constitutes copyright infringement, amongst
21   other things, as set forth below.
22                              JURISDICTION AND VENUE
23          4.     This action arises under the Copyright Act of 1976, Title 17 U.S.C., §
24   101 et seq.
25          5.     This Court has federal question jurisdiction under 28 U.S.C. § 1331
26   and 1338 (a) and (b).
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 1         6.     Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and
 2   1400(a) in that this is the judicial district in which a substantial part of the acts and
 3   omissions giving rise to the claims occurred.
 4                                            PARTIES
 5         7.     Neff is an individual residing in California.
 6         8.     Neff is informed and believes and thereon alleges that Defendant SBA
 7   is a Colorado limited liability company doing business in and with the State of
 8   California and this District.
 9         9.     Neff is informed and believes and thereon alleges that Defendant
10   Goode Enterprise Solutions Inc. is a Colorado corporation doing business in and
                                                                                                 Formatted: Font color: Auto
11   with the State of California and this District.
12         10.    Neff is informed and believes and thereon alleges that Defendant
13   Chicken Soup is a Delaware corporation doing business in and with the State of
                                                                                                 Formatted: Font color: Auto
14   California and this District.
15         9.11. Neff is informed and believes and thereon alleges that Defendant
16   TOFG, LLC is a Delaware limited liability company doing business in and with the
17   State of California and this District.
18         10.12. Neff is informed and believes and thereon alleges that Defendants
19   Does 1 through 10, inclusive (collectively with SBA, and Goode, Chicken Soup,
20   and TOFG “Defendants”), are other parties not yet identified who have infringed
21   Plaintiff’s copyrights, have contributed to the infringement of Plaintiff’s copyrights,
22   or have engaged in one or more of the wrongful practices alleged herein. The true
23   names, whether corporate, individual or otherwise, of Defendants Does 1 through
24   10, inclusive, are presently unknown to Plaintiff, which therefore sues said
25   Defendants by such fictitious names, and will seek leave to amend this Complaint
26   to show their true names and capacities when same have been ascertained.
27         11.13. Neff is informed and believes and thereon alleges that at all times
28   relevant hereto each of the Defendants was the agent, affiliate, officer, director,
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                                       FIRST AMENDED COMPLAINT
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 1   manager, principal, alter-ego, and/or employee of the remaining Defendants and
 2   was at all times acting within the scope of such agency, affiliation, alter-ego
 3   relationship and/or employment; and actively participated in or subsequently
 4   ratified and adopted, or both, each and all of the acts or conduct alleged, with full
 5   knowledge of all the facts and circumstances, including, but not limited to, full
 6   knowledge of each and every violation of Plaintiff’s rights and the damages to Neff
 7   proximately caused thereby.
 8        CLAIMS RELATED TO PLAINTIFF’S SUBJECT PHOTOGRAPH
 9         12.14. Neff created and owns all rights in the original scenic photograph of
10   himself in front of Pluto’s Cave in Mount Shasta, California, as depicted in Exhibit
11   A (“Subject Photograph”).
12         13.15. Neff complied in all respects with the Copyright Act, 17 U.S.C. § 101,
13   et seq., and is the sole owner of the exclusive rights, title, interests, and privileges in
14   and to the Subject Photograph, which Neff has registered with the United States
15   Copyright Office.
16         14.16. Prior to the acts complained of herein, Neff widely publicly displayed
17   and disseminated the Subject Photograph, including in articles to promote Neff’s
18   own forthcoming film in which the Subject Photograph was to be used.
19         17.    Defendants, and each of them, have willfully copied, reproduced, and
20   distributed the Subject Photograph for financial benefit by, without limitation,
21   reproducing the Subject Photograph for commercial benefit in their 2019 film titled,
22   The Cosmic Secret, which was widely publicly distributed on major streaming
23   platforms including Amazon Prime Video, Crackle, and Tubi, and further
24   reproducing the Subject Photograph in promotional excerpts of The Cosmic Secret
25   posted on video hosting service TikTok. True and correct copies and screen
26   captures of Defendants’ unauthorized uses are depicted in Exhibit B (“Infringing
27   Uses”). These copies and screen captures represent non-inclusive exemplars of the
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 1   Infringing Uses. A comparison of the Subject Photograph and an exemplar of the
 2   Infringing Uses can be seen below:
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 5          15.
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 7
                  Subject Photograph                             Infringing Uses

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16          16.18. A comparison of the Subject Photograph with the corresponding
17   images of the Infringing Uses reveals that the elements, composition, colors,
18   arrangement, subject, lighting, angle, and overall appearance of the images are
19   identical or at least substantially similar.
20          17.19. Upon information and belief, Neff alleges that Defendants, and each of
21   them, had access to the Subject Photograph, including through Neff’s online
22   profiles and publications, Neff’s social media accounts, and/or through viewing the
23   Subject Photograph on third-party websites (e.g., YouTube, Google, etc.)
24          18.20. Neff has not in any way authorized Defendants, or any of them, to
25   copy, reproduce, duplicate, disseminate, distribute, or create derivative works of the
26   Subject Photograph.
27          19.21. Neff did not know or have reason to know of Defendants’ infringing
28   conduct prior to three years before the filing of this complaint.
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                                       FIRST AMENDED COMPLAINT
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 1         20.22. On February 7, 2022, Neff, through his undersigned attorneys, sent
 2   SBA a demand to cease and desist all infringing uses of Neff’s copyrighted work.
 3   SBA has failed to meaningfully respond, thereby necessitating this action.
 4                              FIRST CLAIM FOR RELIEF
 5            (For Copyright Infringement – Against All Defendants, and Each)
 6         21.23. Neff repeats, re-alleges, and incorporates herein by reference as though
 7   fully set forth, the allegations contained in the preceding paragraphs of this
 8   Complaint.
 9         22.24. Upon information and belief, Neff alleges that Defendants, and each of
10   them, accessed the Subject Photograph by, without limitation, viewing the Subject
11   Photograph as it was publicly displayed. Access is additionally evidenced by
12   Subject Photograph’s exact reproduction in the Infringing Uses.
13         23.25. Upon information and belief, Neff alleges that Defendants, and each of
14   them, copied, reproduced, displayed, and distributed the Subject Photograph
15   including in their film Cosmic Secret and accompanying promotional material, as
16   seen, without limitation, in the screen captures attached hereto as Exhibit B.
17         24.26. Upon information and belief, Neff alleges that Defendants, and each of
18   them, infringed Neff’s copyrights by creating infringing derivative works from the
19   Subject Photograph and publishing same to the public.
20         25.27. Due to Defendants’ acts of infringement, Neff has suffered actual,
21   general, and special damages in an amount to be established at trial.
22         26.28. Due to Defendants’ acts of copyright infringement as alleged herein,
23   Defendants, and each of them, have obtained direct and indirect profits they would
24   not otherwise have realized but for their infringement of Neff’s rights in the Subject
25   Photograph. As such, Neff is entitled to disgorgement of Defendants’ profits
26   directly and indirectly attributable to Defendants’ infringement of his rights in the
27   Subject Photograph in an amount to be established at trial.
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                                     FIRST AMENDED COMPLAINT
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 1         27.29. Neff is informed and believe and thereon alleges that he registered the
 2   Subject Photograph with the U.S. Copyright Office before the commission of the
 3   infringement at issue and on that basis seeks statutory damages in an amount up to
 4   $150,000.00 per photograph per the Copyright Act.
 5         28.30. Neff is informed and believes and thereon alleges that Defendants’,
 6   and each of their, conduct as alleged herein was willful, reckless, and/or with
 7   knowledge, subjecting Defendants, and each of them, to enhanced statutory
 8   damages, claims for costs and attorneys’ fees, and/or a preclusion from deducting
 9   certain costs when calculating disgorgeable profits.
10                            SECOND CLAIM FOR RELIEF
11        (For Vicarious and/or Contributory Copyright Infringement – Against all
12                                   Defendants, and Each)
13         29.31. Neff repeats, re-alleges, and incorporates herein by reference as though
14   fully set forth, the allegations contained in the preceding paragraphs of this
15   Complaint.
16         30.32. Upon information and belief, Neff alleges that Defendants knowingly
17   induced, participated in, aided and abetted in, and profited from the illegal
18   reproduction and distribution of the Subject Photograph as alleged hereinabove. Such
19   conduct included, without limitation, publishing copies obtained from third parties
20   that Defendants knew, or should have known, were not authorized to be published by
21   Defendants; publishing the Infringing Uses on affiliate, third-party, and social media
22   sites; and distributing the Infringing Uses to third-parties for further publication.
23         31.33. Neff is informed and believes and thereon alleges that Defendants, and
24   each of them, are vicariously liable for the infringement alleged herein because they
25   had the right and ability to supervise the infringing conduct and because they had a
26   direct financial interest in the infringing conduct. Specifically, each Defendant had
27   the ability to oversee the development, publication, and distribution of the
28   infringing imagery at issue. And, Defendants, and each of them, realized profits
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                                      FIRST AMENDED COMPLAINT
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 1   through their respective unlawful obtainment, marketing and distribution of the
 2   Infringing Uses.
 3            32.34. By reason of Defendants’, and each of their, acts of contributory and
 4   vicarious infringement as alleged above, Neff has suffered and will continue to
 5   suffer substantial damages in an amount to be established at trial, as well as
 6   additional actual, general, and special damages in an amount to be established at
 7   trial.
 8            33.35. Neff registered the Subject Photograph with the U.S. Copyright Office
 9   before the commission of the infringement at issue and on that basis seeks statutory
10   damages in an amount up to $150,000.00 per the Copyright Act.
11            34.36. Due to Defendants’ acts of copyright infringement as alleged herein,
12   Defendants, and each of them, have obtained direct and indirect profits they would
13   not otherwise have realized but for their infringement of Neff’s rights in the Subject
14   Photograph. As such, Neff is entitled to disgorgement of Defendants’ profits
15   directly and indirectly attributable to Defendants’ infringement of his rights in the
16   Subject Photograph, in an amount to be established at trial.
17            35.37. Neff is informed and believes and thereon alleges that Defendants, and
18   each of their, conduct as alleged herein was willful, reckless, and/or with
19   knowledge, subjecting Defendants, and each of them, to enhanced statutory
20   damages, claims for costs and attorneys’ fees, and/or a preclusion from deducting
21   certain costs when calculating disgorgeable profits.
22                               THIRD CLAIM FOR RELIEF
23        (For Violations of the 17 U.S.C. §1202 – Against all Defendants, and Each)
24            36.38. Neff repeats, re-alleges, and incorporates herein by reference as though
25   fully set forth, the allegations contained in the preceding paragraphs.
26            37.39. The Subject Photograph was routinely published with attribution,
27   credit, and other copyright management information identifying Neff as the author,
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 1   including gutter credits identifying “Photograph © Dustin Naef” as seen in Exhibit
 2   A.
 3         38.40. Upon information and belief, Neff alleges that Defendants, and each of
 4   them, removed Neff’s copyright management information, as described above, from
 5   the Subject Photograph, and/or added false copyright management information to
 6   the Subject Photograph, attributing it to another artist and/or source.
 7         39.41. Upon information and belief, Neff alleges that Defendants, and each of
 8   them, distributed and published the Subject Photograph on various streaming
 9   platforms where The Cosmic Secret (2019) is available for viewing, in addition to
10   the site reflected in Exhibit B hereto, bearing its own name and removing Neff’s
11   attribution information, including without limitation his name and/or metadata.
12         40.42. The aforementioned facts constitute “copyright management
13   information” as that phrase is defined in 17 U.S.C. §1202(c) and is false.
14         41.43. When Defendants distributed and published the Subject Photograph,
15   they intentionally removed and/or altered Neff’s copyright management
16   information in violation of 17 U.S.C. §1202(b), and knowingly provided and/or
17   distributed false copyright management information in violation of 17 U.S.C.
18   §1202(a). As a result of the foregoing, Plaintiff has been damaged and may recover
19   those damages as well as Defendants’ profits, and/or statutory damages, and
20   attorneys’ fees under 17 U.S.C. §1203.
21                                 PRAYER FOR RELIEF
22         Wherefore, Neff prays for judgment, against all defendants, and each, with
23   respect to each claim for relief as follows:
24             a. That Defendants—each of them—and their respective agents,
25                employees and servants be enjoined from reproducing, displaying,
26                distributing, disseminating, or otherwise exploiting the Subject
27                Photograph or otherwise violating Plaintiff’s exclusive rights in the
28                Subject Photograph;
                                                    9
                                      FIRST AMENDED COMPLAINT
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 1            b. That Plaintiff be awarded all profits of Defendants, and each of them,
 2               plus all losses of Plaintiff, the exact sum to be proven at the time of
 3               trial, or, if elected before final judgment, statutory damages as
 4               available under the Copyright Act, 17 U.S.C. §§ 504, 1203 et seq.;
 5            c. That Plaintiff be awarded his costs and attorneys’ fees as available
 6               under the Copyright Act U.S.C. §§ 505, 1203, et seq.;
 7            d. That a trust be entered over all Infringing Uses, and all profits realized
 8               through the sales and distribution of said work;
 9            e. That Plaintiff be awarded pre-judgment interest as allowed by law;
10            f. That Plaintiff be awarded such further legal and equitable relief as the
11               Court deems proper.
12                                JURY TRIAL DEMAND
13         Neff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
14   38 and the 7th Amendment to the United States Constitution.
15
                                                     Respectfully submitted,
16

17
     Dated: April 26, 2024April 24, 2024August 21, 2023                By:           /s/
     Scott Alan Burroughs
18                                             Scott Alan Burroughs, Esq.
19
                                               Frank R. Trechsel Esq.
                                               DONIGER/BURROUGHS
20                                             Attorneys for Plaintiff
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                                     FIRST AMENDED COMPLAINT
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23                 EXHIBIT A
              SUBJECT PHOTOGRAPH
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                    EXHIBIT B                            Formatted: No underline
24               INFRINGING USE
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